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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 JANET MUSENDE,
                                Plaintiff,

                         v.                                        23-CV-8932 (DEH)

 JOHN DOE, et al.,                                             ORDER OF DISMISSAL
                                Defendants.



DALE E. HO, United States District Judge:

       The Court having been advised by the Mediator at ECF No. 15 that all claims asserted

herein have been settled in principle, it is ORDERED that the above-entitled action be and is

hereby DISMISSED and discontinued without costs, and without prejudice to the right to reopen

the action within thirty days of the date of this Order if the settlement is not consummated.

       To be clear, any application to reopen must be filed by the aforementioned deadline; any

application to reopen filed thereafter may be denied solely on that basis. Further, requests to

extend the deadline to reopen are unlikely to be granted.

       If the parties wish for the Court to retain jurisdiction for the purposes of enforcing any

settlement agreement, they must submit the settlement agreement to the Court by the deadline to

reopen to be “so ordered” by the Court. Per the Court’s Individual Rule No. 7, unless the Court

orders otherwise, the Court will not retain jurisdiction to enforce a settlement agreement unless it

is made part of the public record.

       Any pending motions are moot. All conferences are canceled. The Clerk of Court is

directed to close the case.

       SO ORDERED.

Dated: February 29, 2024
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New York, New York



                                                 DALE E. HO
                                          United States District Judge




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